           Case 1:23-cr-00177-ABJ Document 46 Filed 01/29/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

                 v.                                      CRIMINAL NO. 23-cr-177-ABJ

    SHANE BRIAN LAMOND,

                 Defendant.



      UNITED STATES’ MOTION IN LIMINE TO EXCLUDE DEFENSE EXHIBITS

        The United States of America respectively moves in limine to exclude certain Defense

Exhibits. On January 26, 2024, Defendant identified eight defense exhibits. The Government

moves to exclude Defense Exhibits 6, 7, and 8 pursuant to Federal Rules of Evidence 402 and

802. 1 These documents are irrelevant to the elements of the offenses for which the jury must make

a factual determination. Further, they are hearsay because they are the Defendant’s statements

offered for their truth.

        For the foregoing reasons, the Court should grant the Government’s motion.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

                                             /s/ Joshua S. Rothstein
                                             Joshua S. Rothstein
                                             N.Y. Bar Number 4453759
                                             Rebecca G. Ross
                                             N.Y. Bar Number 5590666
                                             Assistant United States Attorneys
                                             601 D Street, N.W.

1
  The Government also notes that Defense Exhibit 1 is not a single email or email chain, but rather
five separate emails. Each email should be its own exhibit and the admissibility of each exhibit
must be individually determined.
                                           Page 1 of 2
Case 1:23-cr-00177-ABJ Document 46 Filed 01/29/24 Page 2 of 2




                           Washington, D.C. 2053
                           Office: 202-252-7164 (JSR), 202-252-6937 (RR)
                           Joshua.Rothstein@usdoj.gov
                           Rebecca.Ross2@usdoj.gov




                          Page 2 of 2
